. Case.5:89-cv-00406-JM_ Document 107 Filed 03/29/02 Pagelof4 ss

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: U.S. DISTRICT COURT
$ EASTERN DISTRICT ARKANSAS

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS — MAR 29 2002
PINE BLUFF DIVISION

JAMES W. McCORMACK, CLERI
_ EUGENE HUNT, Individually and oy DEP CLER

In Behalf of All Other Similarly

Situated Individuals PLAINTIFF
Ca¥
YS. NO. 5:89-CV-406HW
STATE OF ARKANSAS, et al. DEFENDANTS
ORDER

This cause has come before the Court upon the Joint Motion to Amend Sub-
district Maps. The Court being fully advised that

1. The United States Census Bureau did not use identical geographic
boundaries in publishing the 2000 census report as it used for the 1990 census report and
the Secretary of State has therefore been unable to exactly replicate the earlier maps that
were based on the 1990 Census Report.

2. The boundary changes are minimal and largely based upon the census
geography and the new maps being submitted for the Court’s approval are more detailed
than those produced in 1992 when the Amended Consent Decree was entered.

3. The boundary changes will clarify the sub-district lines for the public.

4. Under the 1992 Amended Consent Decree changes in the sub-districts may
only be made by Order of this Court.

5. The changes in the demographic population percentages in the sub-
districts attached as Exhibit “A” as compared to the sub-districts ordered under the
Amended Consent Decree are negligible. The Court’s approval of the attached maps will

further the original purpose of the 1992 Amended Consent Decree which was designed to

 
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create opportunities for African Americans to elect Circuit Court judges in a manner
consistent with Section 2 of the Voting Rights Act, as amended.

The Court therefore
ORDERS, ADJUDGES AND DECREES that the Joint Motion be and is hereby
GRANTED and the Court continues to retain jurisdiction of this matter pursuant to the

Amended Consent Decree of September 24, 1992.

 

 

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WITH RULE $8 AND/OR.79(a) FRCP

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. 103
UNITED STATES DISTRICT COURT
Eastern District of Arkansas
U.S. Court House
600 West Capitol, Suite 402
Little Rock, Arkansas 72201-3325

April 1, 2002

* * MATLING CERTIFICATE OF CLERK * *

Re: 5:89-cv-00406.

True and correct copies of the attached were mailed by the clerk to the
following: press, file

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4/1/02 Lorna Jones
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